Case: 2:20-cv-00025-WOB-CJS Doc #: 97 Filed: 08/24/22 Page: 1 of 3 - Page ID#: 2825




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                    100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                     Filed: August 24, 2022


 Mr. Todd VanDerVeer McMurtry
 Gerner & Kearns
 335 E. Third Street
 Newport, KY 41071

                      Re: Case No. 22-5736, Nicholas Sandmann v. ABC News, et al
                          Originating Case No. : 2:20-cv-00025

 Dear Counsel,

    This appeal has been docketed as case number 22-5736 with the caption that is enclosed on a
 separate page. The appellate case number and caption must appear on all filings submitted to the
 Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
 district court immediately.

    Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
 Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
 registered with this court as an ECF filer, you should do so immediately. Your password for
 district court filings will not work in the appellate ECF system.

     At this stage of the appeal, the following forms should be downloaded from the web site and
 filed with the Clerk's office by September 7, 2022. Additionally, the transcript order must be
 completed by that date. For further information and instructions on ordering transcript
 electronically, please visit the court's website.

                                     Appearance of Counsel
                      Appellant:     Civil Appeal Statement of Parties & Issues
                                     Disclosure of Corporate Affiliations
                                     Application for Admission to 6th Circuit Bar (if applicable)

                                     Appearance of Counsel
                      Appellee:      Disclosure of Corporate Affiliations
                                     Application for Admission to 6th Circuit Bar (if applicable)
Case: 2:20-cv-00025-WOB-CJS Doc #: 97 Filed: 08/24/22 Page: 2 of 3 - Page ID#: 2826




     More specific instructions are printed on each form. If appellant's initial forms are not timely
 filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
 questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                   Sincerely yours,

                                                   s/Roy G. Ford
                                                   Case Manager
                                                   Direct Dial No. 513-564-7016

 cc: Mr. Robert B. Craig

 Enclosure
Case: 2:20-cv-00025-WOB-CJS Doc #: 97 Filed: 08/24/22 Page: 3 of 3 - Page ID#: 2827




               OFFICIAL COURT OF APPEALS CAPTION FOR 22-5736




 NICHOLAS SANDMANN

            Plaintiff - Appellant

 v.

 ABC NEWS; ABC NEWS INTERACTIVE, INCORPORATED; THE WALT DISNEY
 COMPANY

            Defendants - Appellees
